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                                   IN THE UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                                            WAYCROSS DIVISION



               PAMELA COOPER,                             )
                                                          )
                                        Petitioner,       )
                                                          )
                             V.                           )   CIVIL ACTION NO.: CV5II-103
                                                          )
               UNITED STATES OF AMERICA,                  )
                                                          )
                                        Respondent.       )

                                                      ORDER


                      After an independent review of the record, the Court concurs with the Magistrate
                Judge's Report and Recommendation, to which no objections have been filed.
                Accordingly, the Report and Recommendation of the Magistrate Judge is adopted as the
                opinion of the Court.
                       Petitioner's Motion for Hearing on Issue of Factual Dispute, characterized as a
                motion to vacate, set aside, or correct a sentence pursuant to 28 U.S.C. § 2255, is
                DISMISSED as successive within the meaning of § 2255(h). The Clerk of Court is hereby
                authorized and directed to enter an appropriate Judgment of Dismissal.
                       SO ORDERED, this                day 0f/9•e-<.-              ,      2011.




                                                                        STATES £ISTRICT JUDGE
                                                                       ERN DISTRICT OF GEORGIA




AO 72A
(Rev, 8/82)
